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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                               :
UNITED STATES OF AMERICA                                       :
                                                               :   19 Crim. 366 (LGS)
                           -against-                           :
                                                               :        ORDER
STEPHEN M. CALK,                                               :
                                             Defendant.        :
------------------------------------------------------------- X
LORNA G. SCHOFIELD, District Judge:

        WHEREAS, on October 23, 2020, Defendant filed a motion in limine to preclude the expert

testimony of the Government’s four proposed expert witnesses -- Joseph Belanger, Catherine

Aguirre, Blake Paulson and Jeff McCutcheon -- (Dkt. Nos. 121, 122 and 123), and on November

13, 2020, the Government filed an opposition (Dkt. No. 133).

        WHEREAS, on October 23, 2020, the Government filed a motion in limine to preclude the

testimony of Dr. Andrew Carron; evidence or argument that the quality of the loans, or fraud

against Defendant, are defenses to the charged bribery offence; evidence or argument concerning

Defendant’s prior commission of “good acts”; evidence of irrelevant facts intended to elicit juror

sympathy; and evidence or argument that the charges against Defendant are politically or otherwise

improperly motivated (Dkt. No. 124), and on November 13, 2020, Defendant filed an opposition

(Dkt. No. 130).

        WHEREAS, a conference was held on January 26, 2021, during which oral argument on

Defendant’s motion in limine as to Ms. Aguirre and Mr. Paulson was held, an oral ruling as to the

motions in limine was issued and the parties’ positions on trial scheduling were discussed. For the

reasons stated during the conference, it is hereby

        ORDERED that, Defendant’s motion to preclude Ms. Aguirre’s testimony is GRANTED.

It is further

        ORDERED that, Defendant’s motions to preclude Mr. Belanger’s, Mr. Paulson’s and Mr.
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McCuthcheon’s testimony are DENIED. It is further

          ORDERED that, the parties shall meet and confer and by February 10, 2021, jointly

provide appropriate limiting instructions as to Mr. Paulson’s testimony and Mr. Belanger’s

testimony, as well as limitations on such testimony as discussed at the conference. To the extent the

parties are unable to agree, by February 10, 2021, the parties shall file a letter outlining the parties’

competing proposals, the points on which the parties have reached agreement and the points on

which the parties have been unable to reach agreement. It is further

          ORDERED that, the Government’s motion to preclude Dr. Carron’s testimony is DENIED.

It is further

          ORDERED that, the Government’s remaining motions to preclude certain arguments and

evidence are DENIED as moot, as Defendant has not indicated he intends to make such arguments

or offer such evidence, unless related to the case. It is further

          ORDERED that, by February 10, 2021, Defendant shall file supplemental disclosures as to

Dr. Carron’s testimony, including those regarding Dr. Carron’s projections and calculations

regarding profit and loss. It is further

          ORDERED that, a trial in this matter is scheduled for June 28, 2021, at 10:30 a.m. It is

further

          ORDERED that, because of the current circumstances of the COVID-19 pandemic —

including the challenges in seating a jury, obtaining the presence of out-of-state witnesses, and

ensuring the safety of all involved — the Court finds that the ends of justice served by excluding

time between today and June 28, 2021, outweigh the best interests of the public and the Defendant

in a speedy trial as provided in 18 U.S.C. § 3161(h)(7)(A), and time between today and June 28,

2021, is excluded.

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      The Clerk of Court is respectfully directed to close the motions at Docket Nos. 121 and 124.


Dated: January 27, 2021
       New York, New York




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